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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
                                                 §
VS.                                              §   CRIMINAL NO. H-10-258
                                                 §
                                                 §
                                                 §
JAMES DAVID WRIGHT                               §

                                          ORDER

       The defendant filed an unopposed motion for continuance, (Docket Entry No. 37).

The court finds that the interests of justice are served by granting this continuance and that

those interests outweigh the interests of the public and the defendant in a speedy trial. The

motion for continuance is GRANTED. The docket control order is amended as follows:

       Motions are to be filed by:                   October 18, 2010
       Responses are to be filed by:                 November 1, 2010
       Pretrial conference is reset to:              November 8, 2010, at 8:45 a.m.
       Jury trial and selection are reset to:        November 15, 2010, at 9:00 a.m.


              SIGNED on September 21, 2010, at Houston, Texas.

                                                ______________________________________
                                                           Lee H. Rosenthal
                                                      United States District Judge
